       Case 22-06993            Doc 31     Filed 12/15/22 Entered 12/15/22 07:31:30                     Desc Main
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


 In re: Ronisha J. Carpenter,                                  )            Case No. 22-06993
                                                               )
                                                               )            Chapter 13
                                                               )
 SSN: XXX-XX- 3268                             Debtors         )            Honorable Jacqueline Cox


                                ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: LifeStance Health
     4800 N. Scottsdale Road
     Scottsdale, AZ 85251.

        Attn: Payroll Department

 WHEREAS, the above named debtor has VXEPLWWHG a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                            LifeStance Health
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,
             Ronisha J. Carpenter
 employer of BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,                                                           1,100.00
                                                   deduct from the earnings of the debtor the sum of $BBBBBBBBBBBB
 each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Thomas H. Hooper, Trustee at least once a month at the following address:

                                        Thomas H. Hooper Chapter 13 Trustee
                                                   P.O. Box 588
                                             Memphis, TN 38101-0588

 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               )257+(&2857



 Date                    12/15/2022                                                                    TC

 Entered:
                                                                Jeffrey Allsteadt, Clerk, United States Bankruptcy Court

'HEWRU RU Attorney Signature /s/
                              ______________________
                                 Christine Thurston                                           12/14/2022
                                                                                         Date:BBBBBBBBBBBBBBB

  ✔     ,DJUHHWRHQWU\RIWKLVRUGHUZLWKRXWIXUWKHUQRWLFHRUKHDULQJ

       Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
   ✔   I of the Chapter 13 Plan.
